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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

VIRGINIA RICHTER, INDIVIDUALLY: Docket No.:

AND AS ADMINISTRATRIX OF THE
ESTATE OF EDWARD MATZURA,
DECEASED
210 OAK STREET
MINERSVILLE, PA 17954,

Plaintiff,

VS.

THE BALTIMORE LIFE : JURY TRIAL DEMANDED
INSURANCE COMPANY ;
10075 RED RUN BOULEVARD
OWINGS MILLS, MD 21117-4871,
Defendant.

COMPLAINT

AND NOW, comes Plaintiff, Virginia Richter, individually and as
Administratrix of the Estate of Edward Matzura, Deceased, by and through her
undersigned counsel, and complains against the Defendant, the Baltimore Life
Insurance Company (“Baltimore Life”), as follows:

The Parties

1. Plaintiff Virginia Richter is an adult individual residing at 210 Oak
Street, Minersville, Schuylkill County, Pennsylvania 17954.

2. Virginia Richter is the surviving wife and widow of Edward A.

Matzura, who died on December 5, 2022.
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a By way of Letters of Administration granted by the Schuylkill County
Register of Wills' Office on November 15, 2023, Virginia Richter was appointed
Administratrix of the Estate of Edward A. Matzura, Deceased. A copy of the
Letters of Administration is attached as Exhibit "A."

4. Defendant Baltimore Life is, upon information and belief, an
insurance company licensed to do business in the Commonwealth of Pennsylvania
with an address and place of business located at 10075 Red Run Boulevard,
Owings Mills, Maryland 21117-4871.

5. At all times relevant, Baltimore Life conducted business in and issued
policies of life insurance in Schuylkill County, Pennsylvania, which lies within the
jurisdictional confines of the United States District Court for the Middle District of
Pennsylvania.

Jurisdiction and Venue

6. Jurisdiction and venue are proper in the United States District Court
for the Middle District of Pennsylvania insofar as Baltimore Life regularly
conducts business within the jurisdictional confines of the United States District
Court for the Middle District of Pennsylvania; the subject policy of life insurance
was issued to Edward A. Matzura while he was residing in the jurisdictional
confines of the United States District Court for the Middle District of

Pennsylvania; Edward A. Matzura was domiciled within the jurisdictional confines
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of the United States District Court for the Middle District of Pennsylvania;
diversity of citizenship is met pursuant to 28 U.S.C. § 1332; and the amount in
controversy exceeds $75,000.00.

7. Prior to Edward Matzura’s death, Baltimore Life issued a life
insurance policy, Policy No. 01152011991, to Edward A. Matzura. A “specimen”

copy of the Policy is attached as Exhibit "B."

8. The life insurance Policy issued to Edward A. Matzura contained a
death benefit.
9. Upon information and belief, Baltimore Life also issued a

supplemental "Accidental Death Benefit Rider" to the Policy.

10. Upon information and belief, the Accidental Death Benefit Rider was
never signed by Edward A. Matzura.

11. The Accidental Death Benefit Rider contained a death benefit of an
additional $100,000.00. A copy of the “specimen” Accidental Death Benefit Rider
is attached as Exhibit "'C."

12. Both the Policy and Accidental Death Benefit Rider were in full force
and effect as of the time of Edward A. Matzura's December 5, 2022 death.

13. Virginia Richter is the Third-Party Beneficiary of both the Policy and

Accidental Death Benefit Rider.
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Edward Matzura's Medical Issues and Death

14. Many years prior to 2020, Edward A. Matzura had an opioid addiction
as a result of opioid medications prescribed to him for prior back and neck injuries.

15. By October of 2020, Edward A. Matzura had weaned himself off
opioids because of his concern over opioid addiction.

16. From October 20, 2020 forward, Edward A. Matzura experienced and
suffered through a series of wound-related issues on his lower right leg.

17. Edward A. Matzura treated with several doctors who had started him
on various antibiotics because of his lower right leg wound-type and related issues.

18. By early October 2022, Edward A. Matzura was experiencing chronic
back pain and nerve damage from an earlier neck surgery. His chronic pain and
nerve damage resulted in him losing function in his right hand.

19. In order to avoid resuming opioid medications, Edward A. Matzura
took four to eight aspirin per day as advised by one of his physicians and as
documented in his medical records which have been provided to Baltimore Life.

20. Onor about December 4, 2022, Edward A. Matzura was taken to the
Lehigh Valley Hospital in Schuylkill County with shortness of breath, confusion,
and balance-related issues.

21. Edward A. Matzura reported taking aspirin three times per day over a

6 to 8-week period. He was subsequently diagnosed with salicylate overdose, a
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chronic right leg ulcer, and other medical ailments. Edward A. Matzura's medical
providers made the decision to transfer him to the Lehigh Valley Hospital — Cedar
Crest Campus in Allentown, Lehigh County as he was noted to be in critical
condition.

22. Edward A. Matzura arrived at the Lehigh Valley Hospital, Cedar
Crest Campus on December 5, 2022, where he was found to be in salicylate
toxicity and acute renal failure.

23. Edward A. Matzura's condition worsened to the point where he was
pronounced dead at 1:27 a.m. on December 5, 2022.

24. Edward A. Matzura's death certificate listed as his cause of death
"acute and chronic salicylate toxicity”, and his death was determined to be
accidental.

Baltimore Life's Failure and Refusal to Pay the
Accidental Death Benefit Rider Benefits

25. Following Edward A. Matzura's death, his widow, Virginia Richter,
attempted to deal directly with Baltimore Life to secure payment of the accidental
death benefit rider $100,000.00 benefit. Ms. Richter was paid the primary Policy
death benefit.

26. Baltimore Life took the position that it was not obligated to pay the

$100,000.00 accidental death benefit rider death benefit because of language
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contained in a "specimen" accidental death benefit rider stating that there was an
exclusion for "a voluntary taking of any drug not prescribed for the Insured by a
doctor."

27. Virginia Richter, through her undersigned counsel, corresponded with
Baltimore Life and sought to examine a true and correct copy of the actual life
insurance policy and the actual riders issued to Edward A. Matzura. However,
Baltimore Life was not able to provide anything other than a "specimen" accidental
death benefit rider.

28. By way of letter dated March 3, 2023, Virginia Richter's undersigned
counsel corresponded with Baltimore Life seeking and demanding payment of the
$100,000.00 death benefit rider death benefit.

29. Despite repeated requests and demand, Baltimore Life has failed and
refused to pay the $100,000.00 accidental death benefit rider death benefit to
Edward A. Matzura's beneficiary, Virginia Richter.

Count I
Virginia Richter
v.

The Baltimore Life Insurance Company

Breach of Contract

30. Paragraphs 1 through 29 above are fully incorporated by reference.
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31. Baltimore Life's failure and refusal to pay the $100,000.00 accidental
death benefit rider to Virginia Richter constitutes a breach of contract by Baltimore
Life:

32. There is no adequate legal justification for Baltimore Life's breach of
contract.

33. Asaresult of Baltimore Life's breach of contract, Virginia Richter has
suffered damages in the amount of the accidental death benefit rider death benefit,
$100,000.00.

34. Virginia Richter has satisfied all conditions precedent to bringing a
breach of contract claim against Baltimore Life, including providing Baltimore
Life with Edward A. Matzura's pertinent medical records.

WHEREFORE, Plaintiff, Virginia Richter, individually and as
Administratrix of the Estate of Edward Matzura, Deceased, respectfully requests
that this Honorable Court grant judgment in her favor and against Defendant, The
Baltimore Life Insurance Company, in the amount of $100,000.00.

Count II
Virginia Richter
The Baltimore Life Insurance Company

Bad Faith

35. Paragraphs 1 through 34 above are fully incorporated by reference.
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36. As an insurance company licensed to conduct business in the
Commonwealth of Pennsylvania and which issued the subject life insurance policy
and accidental death benefit rider to Edward A. Matzura, Baltimore Life is subject
to Pennsylvania's Bad Faith Statute, 42 Pa. C.S.A. § 8371.

37. Baltimore Life acted in bad faith as defined by Pennsylvania's Bad
Faith Statute in adjusting, processing, and ultimately denying payment of the
accidental death benefit rider death benefit of $100,000.00 to Virginia Richter.

38. Baltimore Life acted without a bona fide basis in processing,
adjusting, and otherwise denying the accidental death benefit rider death benefit
payment to Virginia Richter.

39. As aresult of Baltimore Life's bad faith pursuant to Pennsylvania's
Bad Faith Statute, Virginia Richter is entitled to an award of $100,000.00
representing the accidental death benefit rider death benefit amount, together with
treble damages, interest, reasonable attorney's fees, and litigation costs pursuant to
Pennsylvania's Bad Faith Statute.

WHEREFORE, Plaintiff, Virginia Richter, individually and as
Administratrix of the Estate of Edward Matzura, Deceased, respectfully requests
that this Honorable Court, grant judgment in her favor and against Defendant, The
Baltimore Life Insurance Company, in the amount of $100,000.00 plus treble

damages, interest, reasonable attorney's fees, and costs.
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Respectfully submitted,

FANELLI, EVANS & PATEL, P.C.

By:

fof

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